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                       UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF NEW YORK
_________________________________________
UNITED STATES OF AMERICA ex. rel.
BRIAN ARYAI,                               Civil Action No. 09-cv-5456-LGS

               Plaintiff/Relator,

                         against.                             SECOND AMENDED QUI TAM
                                                              COMPLAINT AND JURY
                                                              DEMAND
SKANSKA, TURNER CONSTRUCTION
COMPANY; TISHMAN CONSTRUCTION
CORPORATION, PLAZA CONSTRUCTION
CORPORATION, TISHMAN/WASHINGTON GROUP,
TISHMAN/HARRIS, PHOENIX CONSTRUCTORS,
SLATTERY SKANSKA/EDWARDS &
KELSEY DESIGN-BUILD, HUNTER ROBERTS
CONSTRUCTION GROUP, AND
ABC CORPS., INC. 1-100,

            Defendant.
_________________________________________


       Plaintiff United States of America by and through their relator Brian Aryai, files this

Amended Qui Tam Complaint against Defendants Skanska, Turner Construction Company,

Tishman Construction Corporation, Plaza Construction Corporation, Tishman/Washington

Group, Tishman/Harris, Phoenix Constructors, Slattery Skanska/Edwards & Kelsey Design-

Build, Hunter Roberts Construction Group, and ABC Corps., Inc., 1—100 (hereinafter

“Defendants"), states:

                                       INTRODUCTION

       1.      This is an action to recover damages, civil penalties, other statutory relief on

behalf of the United States of America pursuant to the qui tam provisions of the Federal False

Claims Act, 31 U.S.C. §3729 et. seq. (“FCA”).




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                              SUMMARY OF THE ALLEGATIONS

       2.      Plaintiff/Relator Brian Aryai, a retired Special Agent of the United States

Treasury Department, a certified public accountant, and a certified forensic and fraud examiner,

was the former Senior Vice President of Finance at Bovis Lend Lease LMB, Inc. (“BLL”). BLL

is one of the leading general builders in the United States and has been the general contractor

and/or construction manager on a number of federally funded projects in the New York

metropolitan area.

       3.      Independently, and together, defendants SKANSKA, TURNER

CONSTRUCTION COMPANY; TISHMAN CONSTRUCTION CORPORATION, PLAZA

CONSTRUCTION CORPORATION, TISHMAN/WASHINGTON GROUP,

TISHMAN/HARRIS, PHOENIX CONSTRUCTORS, SLATTERY SKANSKA/EDWARDS &

KELSEY DESIGN-BUILD, HUNTER ROBERTS CONSTRUCTION GROUP, AND ABC

CORPS., INC. 1-100, knowingly and systematically submitted false and fraudulent payment

requisitions to federal, state, and municipal governmental entities. The payment requisitions

contained fraudulent and inflated payroll records by including “gratis pay” and “ghost pay” for

union workers. Union labor is required on all major construction projects which are funded in

whole or part by federal, state, and municipal governmental entities in New York.

       4.      As part of the scheme to defraud, union foreman routinely submitted two (2)

hours per day of overtime to the defendants, despite the fact that the individuals did not work the

overtime hours. Defendants knew of this industry wide practice, accepted the fraudulent time

records from the union, and then passed those fraudulent time records on to federal, state, and

municipal governmental agencies funding the projects.




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       5.      Plaintiff/Relator Brian Aryai, in the course of his employment as Senior Vice

President of Finance at BLL discovered these payments and then independently conducted a

comprehensive investigation into the union time records and the payment for those fraudulent

hours by Defendants. After confirming the payments for the times submitted, Plaintiff/Relator

Brian Aryai confronted numerous BLL executives who admitted and confirmed that gratis pay

and ghost pay were long standing industry wide practices.

       6.      Several of the BLL executives confronted by Plaintiff/Relator Brian Aryai had

also worked for other Defendants and confirmed that those companies engaged in the practice of

knowingly submitting fraudulent payment records to federal, state, and municipal governmental

entities who funded construction projects those companies were involved in.

       7.      Plaintiff/Relator Brian Aryai, as part of his comprehensive investigation,

independently and voluntarily went directly to job sites to verify the presence, or lack thereof, of

the union employees who were submitting the inflated time records. Through his actions,

Plaintiff/Relator Brian Aryai confirmed the absence of the employee on the job for hours which

were submitted by the union for payment.

       8.      Upon discovery and established confirmation of this fraudulent scheme to defraud

federal, state, and municipal governmental entities, Plaintiff/Relator Brian Aryai voluntarily

provided the accumulated information and results of his investigation to the appropriate federal

and state law enforcement and prosecuting agencies. The information was provided to said

agencies before the initial Complaint was filed.

       9.      Based entirely upon the investigation conducted by Plaintiff/Relator Brian Aryai,

and the information that was derived therefrom of the industry wide fraudulent practices, a

criminal investigation was opened which resulted in prosecution by the United States Attorney’s



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Office, Eastern District of New York. As set forth in the Deferred Prosecution Agreements and

Press Releases which are attached as Exhibits to this Amended Complaint, the United States

Government recouped tens to hundreds of million dollars in fines, penalties, and restitution from

some of the largest construction companies in the United States, including the named Defendants

Plaza Construction, Hunter Roberts Construction Group, and Tishman Construction Corporation.

Bovis Lend Lease is no longer a named defendant; it settled the federal FCA case against it with

the Federal Government and the Relator.

                                  JURISDICTION AND VENUE

        10.      This action arises under the FCA. This court has subject matter jurisdiction over

this action pursuant to 31 U.S.C. § 3732(a) and 28 U.S.C. § 1331.

        11.      Venue is proper in this Court pursuant to 31 U.S.C. § 3732(a) because the acts

proscribed by the FCA occurred in this District, and Defendants have transacted business in this

District.

                                              PARTIES

        12.      Plaintiff/Relator, Brian Aryai (“Aryai”) is a resident of Tarpon Springs, Florida,

and a former Senior Vice President of Finance of a major international construction firm

conducting business in the New York Metropolitan area. Aryai is a certified public accountant.

certified fraud examiner, and a retired Special Agent of the United States Treasury Department.

who is skilled in conducting forensic analyses and fraud investigations.

        13.      Defendant Turner Construction Company (“Turner") is a corporation with an

office located at 666 Third Avenue, New York, New York, and is engaged, inter alia, in the

business of construction management and general construction. Turner is one of the leading

general builders in the United States has been the general contractor and/or construction manager



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on a number of federally funded projects, in whole or in part, in the New York Metropolitan

area, including the Atlantic Avenue MTA Station Rehabilitation Project (Brooklyn). A

representative sampling of governmentally funded construction projects performed by Turner is

attached as Exhibits A and K.

       14.     Defendant Skanska is a multinational construction company with headquarters

located in Sweden and has an office located at 136 Madison Avenue, New York, New York.

Skanska is the sixth largest construction company operating in the United States and Skanska has

been the general contractor and/or construction manager on a number of federally funded

projects, in whole or in part, in the New York Metropolitan area including the World Trade

Center Transportation Hub. A representative sampling of governmentally funded construction

projects performed by Turner is attached as Exhibit B.

       15.     Defendant Plaza Construction Corporation is a corporation with an office located

at 260 Madison Avenue, New York, New York and is engaged, inter alia, in the business of

construction management and general construction. Plaza is one of the leading general builders

in the United States and has been the general contractor and/or construction manager on a

number of federally funded projects, in whole or in part, in the New York Metropolitan areas. A

representative sampling of governmentally funded construction projects performed by Plaza is

attached as Exhibit C.

       16.     Defendant Tishman Construction Company (“Tishman”) is a corporation with its

headquarters located at 102 N. End Avenue, New York, New York and is engaged, inter alia, in

the business of construction management and general construction. Tishman is one of the

leading general builders in the United States and has been the general contractor and/or

construction manager on a number of federally funded projects, in whole or in part, in the New



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York Metropolitan area including One World Trade Center, East River Science Project, and

Grand Avenue Bus Depot and Maintenance Project. A representative sampling of

governmentally funded construction projects performed by Tishman is attached as Exhibits D

and K.

         17.   Bovis Lend Lease, LMB, Inc. (“BLL") is a corporation with offices located at 200

Park Avenue, New York, New York, and is engaged inter alia in the business of construction

management and general construction. BLL is one of the leading general builders in the United

States and has been the general contractor and/or construction manager on a number of federally

funded projects, in whole or in part, in the New York metropolitan area, including World Trade

Center Memorial and 130 Liberty Street. BLL has settled it federal FCA case with the United

States and Aryai.

         18.   Defendant Tishman/Washington Group is a joint venture comprised of Tishman

Construction Corporation and the Washington Group. Tishman/Washington Group was the

construction manager of the Grand Avenue Bus Depot Project.

         19.   Defendant Tishman/Harris is a joint venture comprised of Tishman and Frederick

R. Harris. Tishman/Harris was the general contractor on the Whitehall Ferry project.

         20.   Defendant Phoenix Construction is a joint venture of Skanska, Fluor Enterprises,

Inc., Granite Construction Corporation, and BLL. Phoenix is the construction manager/general

contractor on the WTC Transportation Hub project.

         21.   Defendant Skanska/Edwards & Kelsey Design—Build (“Skanska/Edwards") is a

joint venture comprised of Slattery Corporation, Skanska USA Civil, Inc., and. Edwards &

Kelsey. Slattery Skanska/Edwards is the construction manager on the Arch Street Yard and

Shop Project. See attached Exhibit K.



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       22.     Defendant Hunter Roberts Construction Group is engaged inter alia in the

business of construction management and general construction. Hunter Roberts is one of the

leading general builders in the United States and has been the general contractor and/or

construction manager on a number of federally funded projects, in whole or in part, in the New

York metropolitan area. A representative sampling of governmentally funded construction

projects performed by Hunter Roberts is attached as Exhibit E.

       23.     Defendants ABC Corporations 1—100 are companies engaged in the business of

construction management and/or general construction and who knowingly submitted fraudulent

payroll amounts to a governmental entity for payment.

                                        ALLEGATIONS

       24.     Defendants are major construction companies who dominate the multibillion

dollar construction market in the New York metropolitan area. Virtually all of their major

construction projects are funded by state, municipal, or federal monies, and union labor is a

requirement of their contracts.

       25.     Unions supply the labor for the projects in issue and union payroll records are

routinely submitted to Defendants for payment. After receiving the payroll records, Defendants

then submit certified payroll records for payment to a federal, state, and/or municipal

government entity.

       26.     For decades there has existed in the construction industry in New York

metropolitan area, the practice of billing for work not performed by union members. Among

other variations on this theme, union foreman routinely submitted two (2) hours per day of

overtime as part of their remuneration, despite the fact that the individuals did not work the

overtime hours. This longstanding and widespread practice was well known to Defendants, and



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they knowingly accepted these fraudulent time records from the union and then incorporated

those fraudulent time records into certified payroll reports forming the basis of payment on the

project. This practice has long been referred to as “gratis pay" and Defendants have paid for

these “ghost hours" and then recouped these monies from federal, state and local government

funds.

         27.   In addition to the two (2) hours of gratis pay which the union foreman received

for these ghost hours, the union itself received fringe benefits in the amount of 40% to 50% of

the amount paid to every foreman which also was well known to Defendants who recouped these

monies from federal, state, and/or local government funds.

         28.   The International Union of Operating Engineers Local 14-14B provides an

annuity plan, which provides an extra retirement benefit to members who have worked in the

construction industry. Local 14 also provides pension benefits to qualifying retirees. Local 14

also provides members and their families with medical, hospital, death, prescription drug, dental

and vision benefits. Local 14 Fringe Benefits Funds are located at 141-57 Northern Blvd,

Flushing, NY 11354. Moneys fraudulently paid for overtime hours that were never worked

funded part of these benefits. Local Unions are co-conspirators with Defendants in the gratis pay

scheme.

         29.   Mason Tenders District Council of Greater New York and Long Island Local 79

is a labor union. It has nearly 15,000 members including construction workers, asbestos and

hazardous materials handlers, recycling and waste handlers. Local 79, like Local 14, provides

benefits that are funded in part by the fraudulent overtime scheme.

         30.   The New York City District Council of Carpenters and Joiners of America Local

1536 is comprised of eight Locals with 25,000 union members. Union members are carpenters,



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millwrights, dock builders, marine divers, core drillers, timbermen, cabinetmakers, floor covers

and industrial workers. Local 1536, like Locals 14 and 79, provides benefits that are funded in

part by the fraudulent overtime scheme.

        31.    On or about April 7, 2008, Plaintiff/Relator Brian Aryai commenced his

employment as Senior Vice President of BLL. Prior to accepting that position, Plaintiff/Relator

discussed issues within BLL concerning transparency and financial reporting. In the course of

his employment at BLL, Plaintiff/Relator Brian Aryai performed a comprehensive investigation

into the financial reporting regarding federal, state, and municipal funded projects and

discovered a longstanding systemic fraudulent union payroll practice which was on going.

Plaintiff/Relator Brian Aryai independently verified and confirmed that these practices were

being undertaken by BLL in connection with construction projects in the New York metropolitan

area.

        32.    Every governmentally funded construction project requires general contractors

and all subcontractors to submit certified payroll records. For example, the City of New York

Office of the Comptroller Bureau of Labor have standardized payroll reports. Certified payroll

reports are to be submitted with requisitions for payment. The certified payroll forms serve

several purposes and contain important information material to the governmental entity funding

the construction project. The payroll report shows the base rate of pay per hour, which base rate

must be the prevailing wage rate for the particular type of work performed by laborers, e.g.,

carpentry.

        33.    In addition, the certified payroll identifies the name, address, and last for digits of

the social security number of the worker. The form identifies the trade and classification of each

worker, e.g., electrician and journeyman or foreman. The form shows the hours worked each



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day both regular hours and overtime hours. The form shows total hours worked, base rate of pay

per hour, total base pay, and rate per hour. The form shows supplemental benefits paid to an

identified union its address, phone number, contract registration number, job code, pay period,

project name and location, tax identification number and the responsible/funding agency.

       34.     The certified payroll report contains a certification which, varying somewhat by

agency, states: “This certified payroll has been prepared in accordance with the instructions

contained on the reverse side of this form. I certify that the above information represents wages

and supplemental benefits paid to all persons employed by my firm for construction work on the

above project during the period shown. I understand that falsification of this statement is a

punishable offense.” The certification is signed by an authorized officer of the contractor or

subcontractor, dated, and submitted to the responsible funding governmental agency.

       35.     Upon confirmation of the continued and ongoing fraudulent payroll practice that

was being perpetrated by BLL, Plaintiff/Relator Brian Aryai emailed and spoke with numerous

company executives at BLL, who admitted that the gratis pay practice was a longstanding

industry wide practice and that BLL and the other construction companies and general

contractors routinely submitted payment requisitions on publicly funded projects which

contained fraudulent payroll records. Several of these BLL employees had previously been

employed with other construction companies including Defendants and had knowledge that those

Defendants were engaged in this industry-wide practice.

       36.     Plaintiff/Relator Brian Aryai further independently established that during the

course of each project, Defendants had systematically submitted false and fraudulent payment

requisitions that contained fraudulent and inflated payroll records by including gratis pay, and

ghost hours for union workers. His investigation revealed that there were at least fifty (50) union



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employees and foremen who were receiving gratis pay. Pursuant to the contracts applicable to

each project, Defendants submitted those fraudulent certified payroll records on a regular and

periodic basis to federal, state, and/or municipal entities knowing that the governmental entities

rely upon those certified payroll records to issue payment on the projects.

       37.     In the diligent performance of his responsibilities as Senior Vice President of

Finance at BLL, Plaintiff/Relator Brian Aryai visited job sites and verified that the union

workers were not present and yet union payroll requisitions were submitted to and paid by BLL

for the falsely reported additional hours. Those payroll records were then submitted to federal,

state, and/or municipal entities funding the projects.

       38.     As Controller at Bovis Lend Lease, Aryai had primary oversight authority over

the certified payroll, which is how he discovered the systemic overtime fraud. After Aryai

collected information that led him to suspect that the hours on the certified payroll may be

falsified, he conducted his own investigation and determined conclusively that ALL foremen and

certain other favored tradesmen were paid the fraudulent overtime on a daily basis.

       39.     Aryai also determined that the named Defendants, which used the same union

labor, also submitted certified payroll bearing the added fraudulent hours. Both John Voci and

Frank Hyers, bother Senior Executives a Bovis Lend Lease specifically admitted to Aryai that

the practice was in place due to a silent agreement with the unions and that the companies named

as Defendants, in addition to Bovis Lend Lease, also engaged in the practice.

       40.     Aryai’s investigation entailed numerous interviews of tradesmen, the results of

which formed a basis for the discovery and corroboration of the fraud. In these interviews, Aryai

showed foremen and others who were fraudulently paid copies of the certified payroll from




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various projects and these tradesmen admitted that the addition of two (2) unworked hours was

the standard procedure applied in preparation and submission of all certified payrolls.

       41.     In October 2008, Aryai personally visited the World Trade Center Transit Hub

construction site and after reviewing certified payrolls, interviewing foremen, and surveillance of

the site, he confirmed that the gratis pay scheme was in place there. After conducting these

investigative steps, Aryai met with Steven Sommer, a fellow Bovis Lend Lease Senior Vice

President, who confirmed the that the foremen at this Joint Venture were all paid fraudulent

gratis pay regardless of which Joint Venture member put and paid the foremen at work. The

members of the Joint Venture consisted of Skanska, Bovis Lend Lease, Flour Enterprises, and

Granite Northeast.

       42.     During the course of his independent investigation, Plaintiff/Relator Brian Aryai

notified BLL executives that the ongoing practice was illegal and that it should be ceased

immediately in order to reduce exposing the company to criminal prosecution. Plaintiff/Relator

Brian Aryai was assured by BLL executives, after he directed the company to cease the illegal

practice of gratis pay and ghost pay, that the company would continue to pay the union

employees for gratis pay or ghost pay directly from BLL funds without submitting the fraudulent

payroll records to federal, state, and/or municipal government entities for repayment, thus not

exposing the company to further criminal violations. Plaintiff/Relator Brian Aryai then learned

that BLL executives, including the Managing Director of BLL’s New York office, devised a

scheme whereby the BLL Payroll Manager, who was under the direct supervision of

Plaintiff/Relator Brian Aryai, continued the fraudulent billing practice and false submissions to

federal, state, and municipal governmental agencies.




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       43.     On or about January 22, 2009, after fully apprising BLL executives of the

fraudulent practice of submitting fraudulent certified payroll records which were known to the

Defendants to be false and inaccurate to federal, state, and/or municipal government agencies

with the intent to obtain payment based upon the false and inaccurate union payroll,

Plaintiff/Relator Brian Aryai was terminated from his position at BLL.

       44.     Shortly prior to his termination, Plaintiff/Relator spoke to executives for several

of Defendants, including but not limited to Plaza Construction, James Rosenthal, the former CFO

of Tishman Construction, and Mike McNally at Skanska. On these telephone calls,

Plaintiff/Relator’s counterparts verbally confirmed their respective companies’ past, current, and

future involvement and participation in the gratis pay scheme. Two of the executives from Plaza

and Tishman both warned Plaintiff/Relator to avoid asking questions about the practice.

       45.     On or about February 6, 2009, Plaintiff/Relator Brian Aryai personally and

voluntarily provided a comprehensive report of his independent investigation into the fraudulent

practices and false claims to the former United States Attorney for the Eastern District of New

York, Loretta E. Lynch. Plaintiff/Relator Brian Ayrai also recommended the prosecution of the

defendants at the Eastern District of New York. United States Attorney Lynch subsequently

personally oversaw the prosecutions based upon the information provided by Plaintiff/Relator

Brian Aryai.

       46.     In his report, Plaintiff/Relator expressly stated that, during the course of his

independent investigation, three separate high-ranking BLL employees verified to him the

industry-wide nature of the “gratis pay” scheme.

       47.     For instance, John Hyers, a BLL superintendent, informed Plaintiff/Relator that

the “gratis pay” scheme was a practice that went back at least twenty-five (25) years in the New


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York metropolitan area, and that all construction companies using union labor participated in the

scheme to pay “padded” overtime to union employees.

        48.    Another BLL superintendent, Dennis Prude, similarly acknowledged the existence

of the “gratis pay” scheme and admitted the practice was a longstanding one amongst all the

major construction companies operating in the New York metropolitan area.

        49.    In addition, Frank Voci, a senior vice president at BLL, confirmed the existence

and widespread prevalence of the “gratis pay” scheme both at BLL as well as the other major

New York area construction companies.

        50.    In early June 2010, Aryai met then United States Attorney Loretta Lynch near her

office at Cadman Plaza. Among other things, Lynch and Aryai discussed the progress of the

investigations into the gratis pay overtime fraud. At that meeting Lynch confirmed Aryai’s

investigative findings that the gratis pay overtime fraud was indeed an industry-wide practice.

During this same conversation, Lynch stated that the fraud was so pervasive and that the

companies Aryai had referred to her for prosecution and the prosecution had required extensive

resources that the roll-out of indictments would be staggered probably over several years. Also

in that same conversation, Lynch and Aryai had an exchange of comments about how the United

States Attorney’s own Office in the Eastern District of New York and the United States

Courthouse in Brooklyn was renovated in a major construction project with the gratis pay

fraudulent overtime scheme.

        51.    On or about June 12, 2009, Plaintiff/Relator Brian Aryai filed under seal the

original Qui Tam Complaint and Jury Demand in the Southern District of New

York.




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       52.     On April 24, 2012, the United States Attorney’s Office for the Eastern District of

New York filed criminal fraud charges against BLL and James Abadie, the former principal in

charge of BLL’s New York Office. Based on the information and substantial assistance

provided by Plaintiff/Relator, Abadie pled guilty to conspiracy to commit mail and wire fraud

based upon the information provided by Plaintiff/Relator Brian Aryai, while BLL admitted to the

participating in the gratis pay practice and entered into a Deferred Prosecution Agreement, the

contents of which are incorporated herein by reference and attached hereto as Exhibit F.

       53.     Subsequently, the United States Attorney’s Office in the Eastern District of New

York, based upon the information provided by Plaintiff/Relator Brian Aryai, entered into a

Deferred Prosecution Agreement with Tishman Construction whereby it admitted to falsely

representing and making materially misleading statements and omissions in billing requisitions

to the federal government. A copy of this this Deferred Prosecution Agreement is incorporated

herein by reference and attached hereto as Exhibit G.

       54.     On October 13, 2016, following a federal investigation and the initiation of

criminal prosecution, the United States Attorney’s Office in the Eastern District of New York

entered into a Deferred Prosecution Agreement with defendant Plaza Construction based upon

the information provided by Plaintiff/Relator Brian Aryai regarding the systemic and industry-

wide false and fraudulent billing practices on government funded projects. This Deferred

Prosecution Agreement is incorporated herein by reference and attached hereto as Exhibit H.

       55.     Similarly, following a federal investigation and the initiation of criminal

prosecution based upon the information provided by Plaintiff/Relator Brian Aryai, the United

States Attorney’s Office in the Eastern District of New York entered into a Deferred Prosecution

Agreement was entered into with another New York construction company, Hunter Roberts



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Construction Group, which similarly admitted to falsely representing and making materially

misleading statements and omissions in billing requisitions to the federal government. A copy of

this Deferred Prosecution Agreement is incorporated herein by reference and attached hereto as

Exhibit I.

        56.     Expressly based on the information provided by Plaintiff/Relator, the United

States Attorney’s Office in the Eastern District of New York continues to investigate the billing

practices of the remaining Defendants. See U.S. Attorneys’ Office press releases, incorporated

herein by reference and attached hereto as part of Exhibits F, G, H, & I.

                                            COUNT I

                          VIOLATIONS OF THE FALSE CLAIMS ACT

        57.     Each of the foregoing allegations is realleged and incorporated hereby.

        58.     As described in this Second Amended Qui Tam Complaint, Defendants by and

through their officers, agents, and employees: (i) knowingly presented, or caused. to be presented

false or fraudulent claims for payment or approval; (ii) knowingly made, used, or caused to be

made or used, a false record or statement to get a false or fraudulent claim paid or approved by

the Government; and (iii) conspired to commit a violation of the False Claims Act. 31 U.S.C. §

3729(a)(1)(A), (B), & (C).

         59.    The United States Government and the public have been damaged as a result of

Defendants’ violations of the FCA.

                                            COUNT II

        60.     The allegations contained above are realleged and incorporated by reference as if

fully set forth herein.




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         61.    The ABC Defendants are other construction and/or construction management

companies which performed work on federally funded projects in the New York Metropolitan

Area, and who submitted payment requisitions or documents which contained gratis pay, ghost

hours, or other false and inaccurate certified payrolls.

         62.     The ABC Defendants knowingly and intentionally made or caused to be made

false statements and false claims in numerous payment requisitions to the United States

Government, in violation of the Federal False Claims Act, 31 U.S.C. §3729 et. seq.

         WHEREFORE, Plaintiff/Relator Brian Aryai on behalf of the United States Government,

prays:

         (i) That this Court enter a judgment against Defendants in an amount equal to three times

the amount of damages the United States has sustained as a result of Defendants’ violations of

the False Claims Act;

         (ii) That this Court enter a judgment against Defendants for a civil penalty of a

$11,000.00 for each of Defendants’ violations of the False Claims Act;

         (iii) That Relator Brian Aryai recover all costs of this action, with interest, including the

cost to the United States Government for its expenses related to this action;

         (iv) That Relator Brian Aryai be awarded all reasonable attorneys’ fees and costs in

bringing this action;

         (v) That in the event the United States Government intervenes in this action, Relator

Brian Aryai be awarded an amount for bringing this action of at least 15% but not more than

25% of the proceeds of the action;




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       (vi) That in the event the United States Government does not proceed with this action,

Relator Brian Aryai be awarded an amount for bringing this action of at least 25% but not more

than 30% of the proceeds of the action; and

        (vii) That Relator Brian Aryai and the United States of America receive all relief to

which either or both may be entitled at law or in equity.




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                                         JURY DEMAND

       Plaintiff hereby requests a jury trial on all issues so triable.


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                                                                Attorneys for Plaintiff/Relator


                                                       By:      s/Robert W. Sadowski
Dated: April 11, 2018                                           Robert W. Sadowski


*Pro Hac Vice

**Local Counsel




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